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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                     SOUTHERN DISTRICT OF WEST VIRGINIA
                              BECKLEY DIVISION

EUGENE NABORS,
                              Plaintiff,
v.                                                   Civil Action No.: 5:22-cv-00059
                                                     Honorable Frank W. Volk
SR. TROOPER J.L. TINCHER,

                              Defendant.


            PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANT
        SR. TROOPER J.L. TINCHER’S MOTION IN LIMINE TO PROHIBIT
                  INTRODUCTION OF EVIDENCE AT TRIAL
     THAT WAS NOT PRODUCED IN DISCOVERY AND RULE 26 DISCLOSURES

       Plaintiff Eugene Nabors, by and through his counsel, W. Jesse Forbes of Forbes Law

Offices, PLLC, and L. Dante’ diTrapano and Charles Bellomy of Calwell Luce diTrapano PLLC,

hereby objects to “Defendant Sr. Trooper J.L. Tincher’s Motion In Limine To Prohibit Introduction

Of Evidence At Trial That Was Not Produced In Discovery And Rule 26 Disclosures.”



                               Defendant’s Motion is Not Timely:

       The May 14, 2024, motion in limine is not timely, having been filed long past the October

11, 2023, deadline for filing such motions.



                   Defendant Has Access to All Medical Records and Bills:

       The Defendants assertion that Plaintiff has not specifically itemized his medical expenses

and other damages in his Rule 26 Disclosures or other discovery is incorrect. Plaintiff has provided

medical records and bills to Defendant and has further provided Defendant with medical

authorizations to allow Defendant to directly obtain this information. In response to discovery
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requests, Plaintiff signed releases and authorizations that permitted Defendant to obtain medical

records and bills, Worker’s Compensation files, and other documents that included treatment, bills

and expenses incurred by him as a result of the injuries he sustained from Defendant Tincher.

Defendant has the same medical records and billing information that Plaintiff possesses.

       Even assuming arguendo that Defendant were correct that Plaintiff did not adequately

itemize his medical bills and expenses in his Rule 26 disclosures and discovery answers, which

Plaintiff disputes, the same would not preclude introduction of such evidence at trial because the

alleged failure to provide a list of such damages would be harmless, as Defendant has the

information and has had the same with plenty of time to prepare. See Fed. R. Civ. P. 37(c)(1).

       The Fourth Circuit uses five factors to determine whether a nondisclosure of information

is substantially justified or harmless:

       (1) the surprise to the party against whom the evidence would be offered; (2) the
       ability of that party to cure the surprise; (3) the extent to which allowing the
       evidence would disrupt the trial; (4) the importance of the evidence; and (5) the
       non-disclosing party's explanation for its failure to disclose the evidence.

S. States Rack & Fixture, Inc. v. Sherwin-Williams Co., 318 F.3d 592, 597 (4th Cir. 2003);

Smith v. Clark, 2023 U.S. Dist. LEXIS 174558, *13;

       Defendant has had information regarding Plaintiff’s medical bills and expenses since at

least 2022; has had every opportunity to obtain this information including being provided medical

authorizations; was advised in Plaintiff’s portion of the Pre-Trial Memorandum of the intent to

potentially introduce “Itemized Billing Statements” and “Any exhibit offered by thee Defendant

an/or listed separately in this Pretrial Memorandum. The Defendant himself noted in his portion

of the Pre-Trial Memorandum his intent to introduce “medical records and bills procured in

discovery pursuant to subpoenas and/or authorizations.” Since Defendant obtained and has those

records, he cannot claim surprise, nor can he assert an inability to cure that surprise.

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       Allowing evidence of Plaintiff’s medical records and billing would in no way disrupt the

trial, as it is a customary practice to do so. The medical records are of great importance, in that

they show the Plaintiff did indeed suffer physical harm and injuries as a result of the actions of the

Defendants. Plaintiff provided Defendant with the records and billing in his possession in response

to discovery requests in 2022 and also provided authorizations and releases through which he could

obtain the medical records and expenses and relied upon Defendant’s ability to exercise that option.

See Exhibit 1, Plaintiff Eugene Nabors’ Response to Defendant Sr. Trooper J.L. Tincher’s First Set

of Interrogatories and Request for Production of Documents. (pgs. 1, 11, 12, 13, 14, 15, 16, 17 and

attachments.) October 17, 2022.



           Plaintiff’s Non-Economic Damages Cannot Be Itemized or Quantified.

       Although the Defendant has had the medical billing information for some time, the crux of

Plaintiff’s damages is not based on his medical bills (which Defendants have), but rather on claims

that cannot be itemized or quantified without invading the province of the jury. As acknowledged

by Defendant in his motion, Plaintiff’s main claim is a violation of his Fourth and Fourteenth

Amendment constitutional rights and privileges based upon the excessive force used by Defendant

Tincher against Plaintiff Nabors during a high-school basketball game causing past and future

physical pain and mental anguish; humiliation and embarrassment; and an impairment of his

capacity to enjoy life. Succinctly, these are non-economic damages that must be determined by

the finder of fact and Plaintiff is precluded from suggesting a specific monetary amount for these

damages, instead relying upon the jury’s determination in this regard.

        Plaintiff’s Rule 26 Disclosures stated that he seeks compensation for “all recoverable

damages permitted by law relating to his injuries, resulting from the Defendants excessive force


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and/or tortious conduct, many of which are not able to be calculated to a specific figure. Therefore,

Plaintiff’s total damages will need to be determined through discovery and ultimately by a jury.”

       Plaintiff further disclosed that in addition to past and future medical bill and economic

losses, he sought “significant non-economic compensatory damages” that included “past and

future physical pain and mental anguish; humiliation and embarrassment; and an impairment of

his capacity to enjoy life and all other damages permitted by applicable laws and statutes and

related provisions.”

       In discovery, Plaintiff stated that he is seeking compensation for “mental anguish and

severe emotional distress; compensation for past, present and future pain and suffering;

compensation for loss of enjoyment of life….and compensation for indignity, embarrassment and

humiliation,” all of which are damages that no one can itemize or quantify without invading the

province of the jury.

       As routinely noted in cases in the United States District Court for the Southern District of

West Virginia non-economic damages, including emotional damages, are difficult to quantify and

require a subjective analysis. See Smith v. United States, 2016 U.S. Dist. (SDWV 2016) LEXIS

157630, *25, citing In re Air Crash Disaster at Charlotte, N.C. on July 2, 1994, 982 F. Supp. 1115,

1127-30 (D.S.C. 1997) (quantifying the pain and suffering experienced by a personal injury

plaintiff is difficult in the best of circumstances; that emotional damages are unique to each

plaintiff and require a subjective analysis).

       Only the jury can determine the non-economic damages suffered by Plaintiff. Attempting

to specifically itemize and quantify such damages in a pretrial filing is contrary to the custom and

practice of allowing the jury to make that determination.




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                                       CONCLUSION

       For the foregoing reasons and those apparent from the record of this proceeding Plaintiff

objects to Defendant Sr. Trooper J.L. Tincher’s Motion in Limine to Prohibit Introduction of

Evidence at Trial That Was Not Produced in Discovery and Rule 26 Disclosures and prays that

same be DENIED.

       Respectfully submitted,

                                                   EUGENE NABORS
                                                    By Counsel
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EUGENE NABORS,
                      Plaintiff,
v.                                         Civil Action No.:  5:22-cv-00059
                                           Honorable Frank W. Volk
SR. TROOPER J.L. TINCHER,
                      Defendant.

                               CERTIFICATE OF SERVICE

       The undersigned, counsel of record for Plaintiff Eugene Nabors, does hereby certify that

on this 24th day of May 2024, the instant certificate of service for “PLAINTIFFS’ RESPONSE

IN OPPOSITION TO DEFENDANT SR. TROOPER J.L. TINCHER’S MOTION IN LIMINE

TO PROHIBIT INTRODUCTION OF EVIDENCE AT TRIAL THAT WAS NOT PRODUCED

IN DISCOVERY AND RULE 26 DISCLOSURES” was served upon the following parties via the

CM/ECF system and copy of same was transmitted via electronic mail to the following:

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